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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                        Plaintiff,           )
                                             )
                v.                           )         1:23-CR-47-MHC-JEM
                                             )
Kristopher Kneubuhler                        )
                                             )
                      Defendant,             )



                              DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on October 31, 2023

and ending on November 29, 2023. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

January 2, 2024.



                                          Norman L. Barnett
                                          Assistant U.S Attorney
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Attachment 1


                      UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION
        COURT CASE NUMBER: 1:23-CR-47-MHC-JEM; NOTICE OF FORFEITURE

        Notice is hereby given that on October 26, 2023, in the case of U.S. v. Kristopher
Kneubuhler, Court Case Number 1:23-CR-47-MHC-JEM, the United States District Court
for the Northern District of Georgia entered an Order condemning and forfeiting the
following property to the United States of America:

       Assorted Electronics (23-CBP-000260), including the following items: one (1) Silver
       iPhone 13 Pro Max, Model MLKV3LL/A, with serial number Q53WWVJ7N1; one (1)
       Kingston Red/White Flash Drive GL2021; Ser No: Unknown; one (1) Republic of
       Gamers Laptop, Model GU603Z, with serial number N4NRKD02156616E; one (1)
       iPad Pro 5th Gen, Model MHNH3LL/A, with serial number HYGH3WHXY9; one (1)
       Desktop Tower with 3 Internal HDs, with serial number
       MCBQ300LKANNS001193001591; one (1) Cooler Master Black Desktop Tower,
       with serial number RC430KWN11104700704; and one (1) cracked pink iPhone
       Unknown serial number which was seized from Kristopher R. Kneubuhler on
       January 05, 2023, at 300 Anchorage Place, located in Roswell, GA

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (October 31, 2023) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 75 Ted Turner Drive S.W., Suite 2211, Atlanta, GA 30303,
and a copy served upon Assistant United States Attorney Radka T. Nations, 75 Ted Turner
Drive S.W., Suite 600, Atlanta, GA 30303. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
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perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Radka T. Nations, 75 Ted Turner Drive S.W., Suite 600, Atlanta, GA 30303. This
website provides answers to frequently asked questions (FAQs) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between October 31, 2023 and November 29, 2023. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system’s daily
check that verifies that the advertisement was available each day.

U.S. v. Kristopher Kneubuhler

Court Case No:              1:23-CR-47-MHC-JEM
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   10/31/2023                      24.0                          Verified
         2                   11/01/2023                      23.9                          Verified
         3                   11/02/2023                      23.9                          Verified
         4                   11/03/2023                      23.9                          Verified
         5                   11/04/2023                      23.9                          Verified
         6                   11/05/2023                      24.0                          Verified
         7                   11/06/2023                      23.8                          Verified
         8                   11/07/2023                      23.9                          Verified
         9                   11/08/2023                      23.9                          Verified
        10                   11/09/2023                      23.9                          Verified
        11                   11/10/2023                      23.9                          Verified
        12                   11/11/2023                      23.9                          Verified
        13                   11/12/2023                      24.0                          Verified
        14                   11/13/2023                      23.9                          Verified
        15                   11/14/2023                      24.0                          Verified
        16                   11/15/2023                      23.9                          Verified
        17                   11/16/2023                      23.9                          Verified
        18                   11/17/2023                      23.9                          Verified
        19                   11/18/2023                      23.9                          Verified
        20                   11/19/2023                      23.9                          Verified
        21                   11/20/2023                      23.9                          Verified
        22                   11/21/2023                      23.9                          Verified
        23                   11/22/2023                      24.0                          Verified
        24                   11/23/2023                      24.0                          Verified
        25                   11/24/2023                      23.9                          Verified
        26                   11/25/2023                      23.9                          Verified
        27                   11/26/2023                      24.0                          Verified
        28                   11/27/2023                      23.9                          Verified
        29                   11/28/2023                      23.9                          Verified
        30                   11/29/2023                      23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
